

ON MOTION FOR REHEARING/CERTIFICATION

PER CURIAM.
We grant rehearing, withdraw our previous opinion, and substitute the following:
We affirm on the authority of Martin v. State, 864 So.2d 589 (Fla. 5th DCA 2004). However, as we did in Martin and in Rickman v. State, 871 So.2d 310 (Fla. 5th DCA 2004), we grant Appellant’s motion for certification and certify conflict with Espindola v. State, 855 So.2d 1281 (Fla. 3d DCA 2003).
REHEARING and CERTIFICATION GRANTED.
PETERSON, ORFINGER and TORPY, JJ., concur.
